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 1   DANIEL J. BRODERICK, Bar# 89424
     Federal Defender
 2   MATTHEW M. SCOBLE, Bar# 237432
     Assistant Federal Defender
 3   801 I Street, 3rd Floor
     Sacramento, California 95814
 4   Telephone (916) 498-5700
 5   Attorney for Defendant
     HERNAN RAMIREZ-RAMIREZ
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 7
 8                        IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,    )      2:11-cr-00102 LKK
                                  )
13                Plaintiff,      )      STIPULATION AND ORDER
                                  )
14           v.                   )      DATE: March 20, 2012
                                  )      TIME: 9:15 a.m.
15   HERNAN RAMIREZ-RAMIREZ,      )      JUDGE: Hon. Lawrence K. Karlton
                                  )
16                Defendant.      )
                                  )
17   ____________________________ )
                                  )
18
19      It is hereby stipulated and agreed to between the United States of
20   America through MICHAEL ANDERSON, Assistant U.S. Attorney, and
21   defendant, HERNAN RAMIREZ-RAMIREZ, by and through his counsel, MATTHEW
22   M. SCOBLE, Assistant Federal Defender, that the status conference set
23   for Tuesday, February 22, 2012, be continued to Tuesday, March 20,
24   2012, at 9:15 a.m.
25      The reason for this continuance is to allow defense counsel
26   additional time to review discovery with the defendants, to examine
27   possible defenses and to continue investigating the facts of the case.
28      It is further stipulated that the time period from the date of this
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 1   stipulation, through and including the date of the new status
 2   conference hearing, March 20, 2012, shall be excluded from computation
 3   of time within which the trial of this matter must be commenced under
 4   the Speedy Trial Act, pursuant to 18 U.S.C. §§ 3161 (h)(7)(A) &
 5   (B)(iv)and Local Code T4 [reasonable time for defense counsel to
 6   prepare].
 7
 8   DATED: February 15, 2012             Respectfully submitted,
 9                                        DANIEL J. BRODERICK
                                          Federal Defender
10
                                          /s/ Matthew M. Scoble
11                                        MATTHEW M. SCOBLE
                                          Assistant Federal Defender
12                                        Attorney for Defendant
                                          HERNAN RAMIREZ-RAMIREZ
13
14
     DATED: February 15, 2012             BENJAMIN B. WAGNER
15                                        United States Attorney
16                                        /s/ Matthew M. Scoble for
                                          MICHAEL ANDERSON
17                                        Assistant U.S. Attorney
                                          Attorney for Plaintiff
18
19
20                                  O R D E R
21      Based on the stipulation of the parties and good cause appearing
22   therefrom, the Court hereby adopts the stipulation of the parties in
23   its entirety as its order.     It is hereby ordered that the presently set
24   February 22, 2012, status conference shall be continued to March 20,
25   2012, at 9:15 a.m.   It is further ordered that the time period from the
26   date of the parties' stipulation, through and including the date of the
27   new status conference hearing, March 20, 2012, shall be excluded from
28   computation of time within which the trial of this matter must be


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 1   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161
 2   (h)(7)(A) & (B)(iv) and Local Code T4 [reasonable time for defense
 3   counsel to prepare].
 4      Based on the stipulation of the parties and good cause appearing
 5   therefrom, the Court hereby finds that the failure to grant a
 6   continuance in this case would deny defense counsel reasonable time for
 7   effective preparation taking into account the exercise of due
 8   diligence.   The Court specifically finds that the ends of justice
 9   served by the granting of such continuance outweigh the interests of
10   the public and the defendants in a speedy trial.
11      IT IS SO ORDERED.
12
     DATED: February 16, 2012
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